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                                                   May 5, 2020


VIA EMAIL
Honorable Freda L. Wolfson
Chief United States District Judge
Clarkson S. Fisher Building
& U.S. Courthouse
402 East State Street
Trenton, NJ 08608

       Re: United States v. Isaac Barlow, Criminal No. 06-00694-1 (FLW)

Dear Chief Judge Wolfson:

        The Government has recently filed its Response to Defendant Barlow’s Motion for
Reduction in Sentence. Defendant Barlow is preparing a Reply Brief, but due to the Covid-
19 crisis and the crush of Covid-19 matters pressing this office, we are requesting thirty days
from this date within which the undersigned may file a Reply brief. This is necessary
because we have only recently been able to release the Government’s paper copies of its
Response and Appendix from quarantine in the office mail and because the Government’s
papers are otherwise voluminous and detailed. With issues of this magnitude, our objective
is to prepare a properly researched and well- reasoned Reply.

        Our ability to prepare a Reply has been delayed, however, by a range of Covid-19-
related matters that are also of great immediacy. I am in the process of filing motions and
administrative applications on behalf of several clients, including one whose very life may
be affected by the Covid-19 conditions at a BOP facility, and others whose conditions of
confinement or release are seriously affected by Covid-19. These Covid-19 related problems
may require our immediate attention in the near future, while at the same time as it is also
it is important that we have the opportunity to prepare a proper Reply Brief in the instant
matter.

       I believe that a Reply Brief can be researched and written within 30 days and
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Honorable Freda L. Wolfson
Chief United States District Judge                                            May 5, 2020

therefore I respectfully request that Defendant Barlow be permitted to file a reply brief on
or before June 4, 2020.

       Today I received the consent to this request of Asst. U.S. Atty Patrick Askin.

       Thank you for your consideration.


                                                 Respectfully submitted,

                                                 /s/ Robert J. Haney

                                                 Attorney for Isaac Barlow

cc: Isaac Barlow
Asst. U.S. Atty. Patrick Askin




                                                  IT IS SO ORDERED: May 6, 2020



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